                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

 CHARLES CURTIS, et al.,                                        )
                                                                )
 Plaintiffs,                                                    )   Civ. No. 3:06-cv-448
                                                                )   Judge Phillips
 v.                                                             )
                                                                )
 ALCOA INC., Individually and as Fiduciary of the               )
 Employees’ Group Benefits Plan of Alcoa Inc., Plan II,         )
                                                                )
 Defendant.                                                     )
                                                                )

                             PLAINTIFFS’ MOTION FOR AWARD
                            OF ATTORNEYS’ FEES AND EXPENSES

         Plaintiffs, pursuant to Fed. R. Civ. P. 54(d)(2)(B) and EDTN LR54.2, respectfully move the

 Court to award attorneys’ fees and costs in this matter under ERISA § 502(g)(1), 29 U.S.C. §

 1132(g)(1), stating that “[i]n any action under this subchapter … the court in its discretion may

 allow a reasonable attorney's fee and costs of action to either party.”

         In support of their motion, the Plaintiffs show that, while finding against the Plaintiffs with

 regard to their claims on the merits for vested uncapped benefits, the Court did find that Plaintiffs

 have a right to vested benefits subject to a cap. This was a disputed issue in that Alcoa denied that

 Plaintiffs had any right to vested benefits whatsoever, while Plaintiffs contended that their benefits

 were vested. Plaintiffs’ secondary argument after vesting without a cap was vested benefits with a

 cap. By ultimately finding that Plaintiffs have a right to vested benefits subject to a cap, the Court

 has conferred a substantial benefit on the Class achieved by this litigation. Under the applicable

 standard enunciated by the United States Supreme Court in Hardt v. Reliance Standard Life Ins.

 Co., 130 S.Ct. 2149 (U.S. May 24, 2010), Plaintiffs have, thus, achieved some success on the merits

 of this case, entitling them to an award of attorneys’ fees and expenses.




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        Accordingly, the Plaintiffs respectfully request that this Court find that Plaintiffs are entitled

 to an award of attorneys’ fees and expenses and that the Court allow such supplemental submissions

 as it deems just and proper to determine the amount of fees and costs that should be awarded, and in

 particular allow the submission in camera of detailed time and expense records to the Court. In

 further support, Plaintiffs file contemporaneously herewith their Memorandum of Law and

 supporting Declarations.

        Wherefore, Plaintiffs respectfully request that the Court grant their motion for an award of

 attorneys’ fees and costs. Plaintiffs would request this Motion and any hearing thereon would be

 held in abeyance until the Court rules upon Plaintiffs’ Motion for Clarification and to Amend the

 Judgment Order filed in this case.

         Respectfully submitted, this the 23rd day of March, 2011.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 23, 2011, a copy of the foregoing was filed electronically.

 Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

 indicated on the electronic filing receipt.    Parties may access this filing through the Court’s

 electronic filing system.


                                        s/Gregory F. Coleman
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